Dear Auditor McCaskill:
This office received your letter of March 21, 2006, submitting a fiscal note and fiscal note summary prepared under Section116.175, RSMo, for an initiative petition, submitted by Patrick Tuohey (version 2), to add a new Article XIV to the Constitution of Missouri relating to state spending. The fiscal note summary that you submitted is as follows:
  The estimated fiscal impact on state government is approximately $280 million for fiscal year 2008. The impact on state government for future years is unknown. The impact on local government is unknown.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  JEREMIAH W. (JAY) NIXON Attorney General